     Case 8:21-bk-10635-ES        Doc 766 Filed 08/03/22 Entered 08/03/22 08:55:14                   Desc
                                    Main Document Page 1 of 1



 1   Alicia Marie Richards
 2   351 Catalina Drive                                                   FILED & ENTERED
     Newport Beach, CA 92663
 3   (949)813-6138
     Richardsalicia007@gmail.com                                                AUG 03 2022
 4   Debtor in pro se
                                                                           CLERK U.S. BANKRUPTCY COURT
 5                                                                         Central District of California
                                                                           BY jle        DEPUTY CLERK

 6

 7                                UNITED STATES BANKRUPTCY COURT

 8                     CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 9   IN RE:                                          )     CHAPTER 7
                                                     )
10   ALICIA MARIE RICHARDS,                          )     Case No. 8:21-bk-10635-ES
                                                     )
11                                                   )     ORDER DENYING REQUEST TO CONTINUE
                                                     )     HEARING RICHARD HESTON’S MOTION
12                                 Debtor.           )     FOR ATTORNEY FEES AND COSTS
                                                     )
13                                                   )
                                                     )     Hearing Date: August 18, 2022
14                                                   )     Time: 10:30 a.m.
                                                     )     Place: Courtroom 5A, 411 W. Fourth Street
15                                                   )                      Santa Ana, CA 92701
                                                     )                      Via ZoomGov
16                                                   )
17            On August 1, 2022, Alicia Marie Richards (“Debtor”) filed a “Request to Continue Hearing on
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     Richard Heston’s Motion for Attorney Fees and Costs” (the “Request”) [dkt 759]. The Court having
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     considered the Request and Opposition, and good cause appearing, it is hereby
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              ORDERED that the Request is denied for insufficient grounds stated therefor.
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23        Date: August 3, 2022

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